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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

JAMES K. LARBI                                  *

        v.                                      *       Civil No. RDB-12-1312

UNITED STATES OF AMERICA                        *

*       *       *       *       *       *       *       *       *       *       *       *       *

UNITED STATES OF AMERICA                        *

        v.                                      *       Criminal No. RDB-05-0088

JAMES K. LARBI                                  *

                                    MEMORANDUM OPINION

        The pro se petitioner James K. Larbi has filed a renewed Motion to Vacate, Set Aside, or

Correct Sentence pursuant to 28 U.S.C. § 2255 (ECF No. 137).1 Petitioner challenges his

sentence on grounds that his attorney rendered ineffective assistance of counsel, in violation of

his rights under the Sixth Amendment. In his Motion, Petitioner claims that counsel should have

argued for a third-level reduction of his criminal offense level, under section 3E1.1(b) of the

Federal Sentencing Guidelines, and that counsel did not properly apprise him of the possibility of

deportation if he was found guilty. Upon reviewing Petitioner’s Motion and the Government’s

opposition thereto, this Court finds that no hearing is necessary. See Local Rule 105.6 (D. Md.

2011). Because Petitioner has not demonstrated that counsel provided ineffective assistance,

Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence (ECF No. 137) is DENIED.

Petitioner’s Motion Seeking a Ruling (ECF No. 145) is rendered MOOT by this decision.


1
 Petitioner filed his original Motion to Vacate (ECF No. 109) on September 2, 2010. Petitioner alleged,
among other arguments, that counsel failed to file an appeal on his behalf. This Court granted Petitioner
an amended judgment from which to file an appeal and dismissed his Motion’s remaining claims without
prejudice (ECF No. 117). The United States Court of Appeals for the Fourth Circuit denied Petitioner’s
appeal. See United States v. Larbi, 447 F. App’x 519 (4th Cir. 2011).

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                                          BACKGROUND

          On June 12, 2009, petitioner James K. Larbi (“Petitioner”) pled guilty to one count of

conspiracy to distribute one kilogram or more of heroin, in violation of 21 U.S.C. § 846. See

Plea Agreement, ECF No. 69. On September 17, 2009, this Court sentenced Petitioner to a

prison term of eighty-seven months and a five-year period of supervised release. Judgment, ECF

No. 78.

          On February 16, 2005, Drug Enforcement Administration agents in Baltimore observed

Petitioner meeting with Payton Green (“Green”), a known large-scale heroin trafficker. See

Gov.’s Resp. to Pet’r’s Original Mot. 1, ECF No. 113. The agents noted that Petitioner was

carrying a large backpack during this meeting, and that Petitioner and Green drove toward Penn

Station in Baltimore. Id. Based on these observations, the agents suspected that both men were

engaged in narcotics trafficking and apprehended them. Id. The agents found over six kilograms

of heroin in Petitioner’s backpack. Id.

          On March 2, 2005, Petitioner and Green were indicted by a federal grand jury on one

count of possession with intent to distribute one kilogram or more of heroin, in violation of 21

U.S.C. § 841, and conspiracy to distribute and to possess with intent to distribute one kilogram or

more of heroin, in violation of 21 U.S.C. § 846. Indictment, ECF No. 13. On March 11, 2005,

Petitioner entered a plea of not guilty and was released on conditions of pretrial supervision. See

Pet’r’s Mot. 1, ECF No. 137. Petitioner then fled to his home country of Ghana. See Gov.’s

Resp. to Pet’r’s Original Mot. 2. Ghanaian officials eventually located Petitioner and extradited

him to the United States. Id. On March 23, 2009, Petitioner made his first appearance before

this Court following his flight to Ghana. Id.




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       On June 12, 2009, Petitioner pled guilty to one count of conspiracy to distribute one

kilogram or more of heroin, in violation of 21 U.S.C. § 846. See Plea Agreement. This Court

sentenced Petitioner to a term of eighty-seven months on September 4, 2009. In calculating

Petitioner’s sentence, this Court granted the Government’s motion for a two-level reduction in

Petitioner’s criminal offense level, pursuant to section 3E1.1(a) of the Federal Sentencing

Guidelines.2

        On August 19, 2010, Petitioner filed a motion to vacate his sentence, made pursuant to

28 U.S.C. § 2255, in which he claimed he received ineffective assistance of counsel for eight

reasons. See Pet’r’s Original Mot. to Vacate. In his reply brief, Petitioner also asserted that

counsel ignored his request to file an appeal. Pet’r’s Reply for Original Mot. to Vacate 3-4, ECF

No. 116. This Court ordered an amended judgment from which Petitioner could file an appeal

and gave leave for Petitioner to file his ineffective assistance of counsel claims under a renewed

motion to vacate following the disposition of his appeal. See Order Dismissing Motion to

Vacate, ECF No. 118.       On appeal, Petitioner argued that his counsel rendered ineffective

assistance and that Petitioner did not make a knowing and voluntary guilty plea. See United

States v. Larbi, 447 F. App’x 519 (4th Cir. 2011). On September 29, 2011, the United States

Court of Appeals for the Fourth Circuit denied Petitioner’s claim as to the validity of his guilty

plea and decided not to consider Petitioner’s ineffective assistance of counsel claim because the

record did not contain conclusive evidence of ineffective assistance. See id.

       On April 27, 2012, Petitioner filed the pending Renewed Motion to Vacate. See Pet’r’s

Mot., ECF No. 137. In his Motion, Petitioner argues that trial counsel provided ineffective

assistance for two reasons. First, Petitioner claims that trial counsel should have argued for a

2
  Section 3E1.1(a) of the Federal Sentencing Guidelines allows the Government to move for a two-level
reduction of a defendant’s criminal offense level if it deems that “the defendant clearly demonstrates
acceptance of responsibility for his offense.” U.S. Sentencing Guidelines Manual § 3E1.1(a) (2012).

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third-level reduction of his criminal offense level for entering a timely guilty plea, pursuant to

section 3E1.1(b) of the Federal Sentencing Guidelines.3 See id. at 1. Second, Petitioner asserts

that counsel failed to discuss the possibility of Petitioner’s deportation if he were found guilty by

this Court. See id.

       Upon review of Petitioner’s Motion to Vacate, the Government’s Response, and

Petitioner’s Reply, this Court finds that Petitioner fails to show that counsel provided ineffective

assistance. Petitioner’s Motion to Vacate, Set Aside, or Correct Sentence (ECF No. 137) is

therefore DENIED.

                                     STANDARD OF REVIEW

       Documents filed pro se are “liberally construed” and are “held to less stringent standards

than formal pleadings drafted by lawyers.” Erickson v. Pardus, 551 U.S. 89, 94 (2007) (citation

omitted). In order to establish a claim for ineffective assistance of counsel, a petitioner must

prove both elements of the test set forth by the Supreme Court in Strickland v. Washington, 466

U.S. 668, 671 (1984). First, a petitioner must show that his counsel’s performance was so

deficient as to fall below an “objective standard of reasonableness.” Id. at 688. In assessing

whether counsel’s performance was unconstitutionally deficient, courts adopt a “strong

presumption” that a counsel’s actions fall within the “wide range of reasonable professional

assistance.” Id. at 689. Second, a petitioner must show that his counsel’s performance was so

prejudicial as to “deprive the defendant of a fair trial.” Id. at 687. In order to establish this level

of prejudice, the petitioner must demonstrate that there is a “reasonable probability that, but for


3
 If the Government moves for a two-level reduction under section 3E1.1(a) of the Federal Sentencing
Guidelines, it may then move for a third-level reduction under section 3E1.1(b). Under this section, the
Government must find that “the defendant has assisted authorities in the investigation or prosecution of
his own misconduct by timely notifying authorities of his intention to enter a plea of guilty, thereby
permitting . . .the government and the court to allocate their resources efficiently.” U.S. Sentencing
Guidelines Manual § 3E1.1(b) (2012). This section is described in greater detail in infra Section I.A.

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counsel’s [alleged] unprofessional errors, the result of the proceeding would have been

different.” Id. at 694. Satisfying either of the two parts of the test alone is not sufficient; rather,

the petitioner must meet both prongs of the Strickland test in order to be entitled to relief. See id.

at 687.

                                            ANALYSIS

          In his Motion to Vacate, Petitioner asserts two claims of ineffective assistance of trial

counsel. First, Petitioner argues that trial counsel should have pursued an additional reduction of

Petitioner’s criminal offense level under section 3E1.1(b) for pleading guilty in a timely manner.

See Pet’r’s Mot. 3-11. Second, Petitioner avers that trial counsel never informed Petitioner of the

possibility of deportation if he were found guilty. See id. at 12-20. Finding that neither claim

has merit, this Court denies Petitioner’s Motion to Vacate (ECF No. 137).

I.        Petitioner’s Claim That Trial Counsel Should Have Argued for a Third-Level
          Reduction under Section 3E1.1(b) of the Federal Sentencing Guidelines.

          A.     Petitioner Did Not Enter a Timely Guilty Plea

          Petitioner claims that he was denied effective assistance of counsel when trial counsel

failed to argue that Petitioner deserved a third-level reduction in his criminal offense level under

section 3E1.1(b) of the Federal Sentencing Guidelines. Section 3E1.1, entitled “Acceptance of

Responsibility,” allows for a reduction in a defendant’s criminal offense level under two separate

criteria. First, the Government may move for a two-level reduction pursuant to section 3E1.1(a)

if the defendant has accepted responsibility for his crime. U.S. Sentencing Guidelines Manual §

3E1.1(a) (2012). Once the Government requests this two-level reduction, it may move for an

additional third-level reduction under section 3E1.1(b). A request for this third-level reduction is

appropriate where the Government believes that the “defendant has assisted authorities in the

investigation or prosecution of his own misconduct by timely notifying authorities of his

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intention to enter a plea of guilty, thereby permitting the government to avoid preparing for trial

and permitting the government and the court to allocate their resources efficiently.” Id. §

3E1.1(b).

       In this case, the Government moved for a two-level reduction for his acceptance of

responsibility, pursuant to section 3E1.1(a). See Plea Agreement 4. The Government, however,

opposed an additional third-level reduction under section 3E1.1(b), because Petitioner delayed

the criminal process when he fled the country and did not enter a guilty plea until four years after

he initially pled his innocence. See id.; Gov.’s Resp. 5-6. Petitioner argues that he is entitled to

the third-level reduction, because he informed the Government that he wanted to plead guilty

prior to his flight to Ghana. See Pet’r’s Mot. 8-9; Pet’r’s Reply 3-4. He asserts that trial counsel

acted unreasonably by not objecting to the Government’s refusal to move for the additional level

of reduction. See Pet’r’s Mot. 1.

       Petitioner has failed to show that trial counsel acted unreasonably when he did not pursue

a third-level reduction. First, it is within the discretion of the Government to move for a third-

level reduction. See, e.g., United States v. Divens, 650 F.3d 343, 348 (4th Cir. 2011) (“Section

3E1.1(b) thus instructs the Government to determine simply whether the defendant has ‘timely’

entered a ‘plea of guilty’ and thus furthered the guideline's purposes in that manner.”).

Moreover, Petitioner’s actions following his indictment indicate that he did not enter a timely

guilty plea. Though Petitioner claims that he notified the Government of his intention to plead

guilty in accordance with section 3E1.1(b), his argument disregards the fact that he afterward

fled the country. As a consequence of Petitioner’s actions, the Government had to spend

considerable time and resources to locate Petitioner and extradite him to the United States. See

Gov.’s Resp. 5. Petitioner’s case did not resume until three years following his escape from the



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United States, when he appeared before this Court on March 23, 2009. See Initial Appearance

Regarding Revocation of Pre-Trial Release, ECF No. 53. Thus, trial counsel would have had

substantial difficulty in making the argument that his client “permit[ed] the government . . . to

allocate [its] resources effectively” when Petitioner left the country to evade responsibility for

his crime. U.S. Sentencing Guidelines Manual § 3E1.1(b) (2012). Accordingly, Petitioner

cannot show that trial counsel’s failure to object “fell below an objective standard of

reasonableness,” and his Strickland claim fails on this basis. 466 U.S. at 688.

       B.      Petitioner Misapplies the Holding of Divens to His Case

       Petitioner cites United States v. Divens, 650 F.3d 343 (4th Cir. 2011), for the proposition

that the Government can withhold a third-level reduction under section 3E1.1(b) only “on the

basis of an interest recognized in the guideline itself.” Pet’r’s Reply 3. Petitioner argues that the

Government improperly used Petitioner’s flight to Ghana as a reason to deny him the additional

sentence reduction, because the cost associated with extraditing him from Ghana did not relate to

his willingness to plead guilty. See id. In Divens, the Fourth Circuit addressed a defendant who

had timely notified the Government of his intent to plead guilty, yet was denied a third-level

reduction because he refused to waive his appellate rights. See 650 F.3d at 348. The Fourth

Circuit found that the Government erred when it denied the defendant a third-level reduction,

because a waiver of the defendant’s appellate rights did not relate to his willingness to admit to

the charged crime. See id. In other words, the prosecutors could not deny the defendant the

third-level reduction because of his “refus[al] to assist the prosecution in other ways” that were

not related to his admission of guilt. Id.

       Petitioner misapplies the holding of Divens to his case. Petitioner’s escape from the

United States directly contravened any intentions he had of pleading guilty, because he attempted



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to avoid responsibility for his crime. See id. (stating that a timely guilty plea requires an

“unqualified confession of guilt in open court”). Thus, the Government reasonably concluded

that Petitioner’s violation of the terms of his pretrial release and flight from the United States

related to the purpose of section 3E1.1(b). See Gov.’s Resp. 5-6. Unlike the case in Divens, the

Government’s decision not to move for an additional third-level reduction was not based on

reasons unrelated to his acceptance of responsibility. See 650 F.3d at 348. Petitioner has

therefore failed to demonstrate that trial counsel acted unreasonably when he did not request a

third-level reduction for acceptance of responsibility under section 3E1.1(b).

II.    Petitioner’s Claim That Trial Counsel Did Not Inform Petitioner of the Possibility of
       Deportation If He Was Found Guilty

       Petitioner also claims that trial counsel rendered ineffective assistance by not properly

informing him of the possibility of deportation if he were found guilty of his narcotics charge.

Petitioner cites Padilla v. Kentucky, 130 S. Ct. 1473 (2010), in which the Supreme Court

reversed the conviction of a defendant whose attorney misinformed him about the possibility of

being deported. In Padilla, the defendant’s attorney erroneously advised the defendant, a lawful

permanent resident, that he “did not have to worry about immigration status since he had been in

the country so long.” 130 S. Ct. at 1478. The Court found that the attorney’s advice fell below

an objective standard of reasonableness, because “removal is practically inevitable” in such

cases. Id. at 1480. Petitioner admits that the Supreme Court decided Padilla after his own

conviction. See Pet’r’s Mot. 14. Yet, he argues that Padilla illustrates that the “prevailing

professional norms” at the time of his conviction dictated that trial counsel should have informed

Petitioner of the risk of deportation. Id.

       Petitioner’s claim fails because in this case, unlike Padilla, there is no question that

Petitioner was aware of, and had spoken with his attorney about, the potential consequence of

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deportation. Petitioner’s plea agreement explicitly mentions the possibility of deportation: “By

pleading guilty, the Defendant will also be giving up certain valuable civil rights and may be

subject to deportation or other loss of immigration status.” Plea Agreement 4. Moreover,

Petitioner signed the plea agreement, indicating his careful review and discussion of its contents

with his attorney. See id. at 6. During Petitioner’s plea colloquy, Petitioner also affirmed under

oath that he reviewed the plea agreement with trial counsel and had no objections. See Gov.’s

Resp. 4, Ex. D. This Court concludes that Plaintiff cannot show that trial counsel failed to

discuss the possibility of deportation and loss of immigration status with Petitioner, and thus

Petitioner cannot mount a Strickland claim on this basis.

III.   Petitioner’s Motion Seeking a Ruling (ECF No. 145)

       Finally, Petitioner has filed a Motion Seeking a Ruling (ECF No. 145), in which

Petitioner requests that this Court issue an opinion on the pending Motion to Vacate. Because

this Court denies Petitioner’s Motion to Vacate in the accompanying Order, Petitioner’s Motion

Seeking a Ruling (ECF No. 145) is now MOOT.

                                          CONCLUSION

       For the reasons stated above, Petitioner’s Motion to Vacate, Set Aside, or Correct

Sentence (ECF No. 137) is DENIED and his Motion Seeking a Ruling (ECF No. 145) is MOOT.

       A certificate of appealability shall not issue absent “a substantial showing of the denial of

a constitutional right.” 28 U.S.C. § 2253(c)(2) (2000). A petitioner satisfies this standard by

demonstrating that reasonable jurists would find that an assessment of the constitutional claims is

debatable and that any dispositive procedural ruling dismissing such claims is likewise

debatable. Miller-El v. Cockrell, 537 U.S. 322, 336-38 (2003); Rose v. Lee, 252 F.3d 676, 683-

84 (4th Cir. 2001). Because reasonable jurists would not find Petitioner’s claims debatable, a

certificate of appealability is DENIED.
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     A separate Order follows.



Dated: May 8, 2013



                                             _________/s/________________________
                                             Richard D. Bennett
                                             United States District Judge




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